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LPIA) IN THE UNITED STATES DISTRICT COURT
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DALLAS DIVISION shea 12 PM ft 10
UNITED STATES OF AMERICA NO. EPUTY CLS naa _
" 3.20CR0380-B
JASON SHEROD BALDWIN
INDICTMENT
The Grand Jury charges:
Count One

Advertising for Child Pornography
(Violation of 18 U.S.C. §§ 2251(d)(1))

From on or about from on or about March 11, 2019, and continuing through on or
about August 30, 2019, in the Northern District of Texas and elsewhere, Jason Sherod
Baldwin, the defendant knowingly made, printed, and published, and caused to be made,
printed, and published, notices and advertisements seeking and offering to receive and
produce visual depictions, the production of which visual depictions involved the use of a
person whom the defendant believed to be a minor engaging in sexually explicit conduct
and which visual depictions would be of such conduct, and such notices and
advertisements were transported using a means and facility of interstate commerce, that
is, the defendant utilized an Apple iPhone X cellular telephone, a third-party messaging
application, and the Internet to send notices seeking or advertising for child pornography
as defined in 18 U.S.C. § 2256.

In violation of 18 U.S.C. §§ 2251(d)(1).

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Count Two
Advertising for Child Pornography
(Violation of 18 U.S.C. §§ 2251(d)(1))

From on or about from on or about November 16, 2018, and continuing through
on or about June 16, 2020, in the Northern District of Texas and elsewhere, Jason
Sherod Baldwin, the defendant knowingly made, printed, and published, and caused to
be made, printed, and published, notices and advertisements seeking and offering to
receive and produce visual depictions, the production of which visual depictions involved
the use of a person whom the defendant believed to be a minor engaging in sexually
explicit conduct and which visual depictions would be of such conduct, and such notices
and advertisements were transported using a means and facility of interstate commerce,
that is, the defendant utilized an Apple iPhone X cellular telephone, a third-party
messaging application, and the Internet to send notices seeking or advertising for child

pornography as defined in 18 U.S.C. § 2256.

In violation of 18 U.S.C. §§ 2251(d)(1).

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Count Three
Advertising for Child Pornography
(Violation of 18 U.S.C. §§ 2251(d)(1))

From on or about from on or about November 12, 2018, and continuing through
on or about February 14, 2020, in the Northern District of Texas and elsewhere, Jason
Sherod Baldwin, the defendant knowingly made, printed, and published, and caused to
be made, printed, and published, notices and advertisements seeking and offering to
receive and produce visual depictions, the production of which visual depictions involved
the use of a person whom the defendant believed to be a minor engaging in sexually
explicit conduct and which visual depictions would be of such conduct, and such notices
and advertisements were transported using a means and facility of interstate commerce,
that is, the defendant utilized an Apple iPhone X cellular telephone, a third-party
messaging application, and the Internet to send notices seeking or advertising for child

pornography as defined in 18 U.S.C. § 2256.

In violation of 18 U.S.C. §§ 2251(d)(1).

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Count Four
Advertising for Child Pornography
(Violation of 18 U.S.C. §§ 2251(d)(1))

From on or about from on or about December 2, 2018, and continuing through on
or about March 24, 2019, in the Northern District of Texas and elsewhere, Jason Sherod
Baldwin, the defendant knowingly made, printed, and published, and caused to be made,
printed, and published, notices and advertisements seeking and offering to receive and
produce visual depictions, the production of which visual depictions involved the use of a
person whom the defendant believed to be a minor engaging in sexually explicit conduct
and which visual depictions would be of such conduct, and such notices and
advertisements were transported using a means and facility of interstate commerce, that
is, the defendant utilized an Apple iPhone X cellular telephone, a third-party messaging
application, and the Internet to send notices seeking or advertising for child pornography

as defined in 18 U.S.C. § 2256.

In violation of 18 U.S.C. §§ 2251(d)(1).

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Count Five
Receipt of Child Pornography
(Violation of 18 U.S.C. § 2252A(a)(2)(A))

  

On or about October 29, 2019, and continuing through on or about December 18,
2019, in the Northern District of Texas and elsewhere, the defendant, Jason Sherod
Baldwin, did knowingly receive material that contained child pornography that was
shipped and transported in interstate commerce, and in and affecting interstate commerce
by any means, including by computer, and he knew the material he received contained
child pornography. Specifically, Baldwin, using his Apple iPhone X cellular telephone,
a third-party messaging application, and the Internet to receive videos of minors engaged
in sexually explicit conduct and the lewd and lascivious exhibition of the genitals of

minors as defined in 18 U.S.C. § 2256, including the following video file:

 

 

File Name: Description:
Freaky Lucas and | This video files depicts a minor male in various scenes involving
Friends.mp4 full nudity/undresses to full nudity where his genitals are exposed

in a lewd and lascivious manner. The video transitions to the
same nude minor male as he inserts a pen into is anus and exposes
his anus and genitals in a lewd and luscious manner. As the video
continues, two different nude minor males are depicted who are
masturbating and then fondle one another. Lastly, the video
returns to depict the original nude minor male who is lying on his
back on a bed. The minor male penetrates his own mouth with
his erect penis and then masturbates.

 

 

 

 

In violation of 18 U.S.C. § 2252A(a)(2)(A).

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Count Six
Receipt of Child Pornography
(Violation of 18 U.S.C. § 2252A(a)(2)(A))
On or about October 29, 2019, and continuing through on or about November 11,

2019, in the Northern District of Texas and elsewhere, the defendant, Jason Sherod
Baldwin, did knowingly receive material that contained child pornography that was
shipped and transported in interstate commerce, and in and affecting interstate commerce
by any means, including by computer, and he knew the material he received contained
child pornography. Specifically, Baldwin, using his Apple iPhone X cellular telephone,
a third-party messaging application, and the Internet, to receive videos of minors engaged

in sexually explicit conduct and the lewd and lascivious exhibition of the genitals of

minors as defined in 18 U.S.C. § 2256, including the following video file:

 

File Name: Description:

 

2 boysuck.mp4 This video files depicts two minor males with one male who is
standing and wearing only a white robe and the other is wearing a
red shirt. The minor male in the red shirt is on his knees in front
of the other male. The erect penis of one minor male is
penetrating the mouth of the other minor male.

 

 

 

 

In violation of 18 U.S.C. § 2252A(a)(2)(A).

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Forfeiture Notice
(18 U.S.C. § 2253)

Upon conviction of any offense alleged in Counts One through Six and pursuant to
18 U.S.C. § 2253(a), the defendant, Jason Sherod Baldwin, shall forfeit to the United
States of America (a) any visual depiction described in 18 U.S.C. § § 2251, 2252A, and
2252 and any book, magazine, periodical, film, videotape, or other matter which contains
any such visual depiction, which was produced, transported, mailed, shipped, or received
in the respective offense; (b) any property, real or personal, constituting or traceable to
gross profits or other proceeds obtained from the respective offense; and (c) any property,
real or personal, used or intended to be used to commit or to promote the commission of
the respective offense and any property traceable to such property.

The above-referenced property subject to forfeiture from the previously-mentioned
defendant includes, but is not limited to, any interest in the following:

1. Apple iPhone X, Model A1865, bearing serial number F2LX351KJCLF and

IMEI 3548420953 10931;
2. Apple iPhone 11 Pro, Model A2160, bearing serial number C39C29GJN6XM

and IMEI 353239108449652; and
3. achild size sexual device.

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A TRUE BILL:

diy

FOREPERSON

 

ERIN NEALY COX
UNITED STATES ATTORNEY

Yor foC

NICOLE DANA

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

JASON SHEROD BALDWIN

 

INDICTMENT

(Violation of 18 U.S.C. §§ 2251(d) (1))
Advertising for Child Pornography
(Count 1, 2, 3, and 4)

(Violation of 18 U.S.C. § 2252A (a) (2) (A))
Receipt of Child Pornography

(Count 5 and 6)

(18 U.S.C. § 2253)
Forfeiture Notice

6 Counts

 

A true bill rendered

 

DALLAS FOREPERSON

Filed in open court this 1 day of August, 2020.

Sow LL Ze
UNITED STATES MAGISTRATE JUDGE
No Criminal Matter Pending —_—~
